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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                07/02/2024
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :
                                                                       :       23-cr-576 (LJL)
MIGUEL DIAZ,                                                           :
                                                                       :          ORDER
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

        At the request of Defendant, who is proceeding pro se, the Court has ordered a

competency evaluation of Defendant. See Dkt. No. 78; June 10, 2024 Minute Entry; Dkt. No.

84. The Court is in receipt of a letter from Defendant dated June 22, 2024, see Dkt. No. 97, and

will reserve judgment on any motions contained therein until the competency evaluation has

occurred and Defendant’s competency to stand trial is determined.


        SO ORDERED.


Dated: July 2, 2024                                        __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
